          Case 2:18-cr-00876-JAK Document 137 Filed 08/17/23 Page 1 of 1 Page ID #:640


                                           UNITED STATES DISTRICT COURT
                                          CENTRAL DISTRICT OF CALIFORNIA                                  08/17/2023
TO: Clerk, United States District Court                                                                         TJ




             Attention:   T. Jackson-Terrell                                                 Date: August 17, 2023
                                                  Deputy Clerk

SUBJECT: REQUEST FOR CALENDAR DATE

 NAME                                                             DOCKET NO.                         BOOKING NO.
              Anderson Sam Bonilla Echegoyen                        LA CR18-00876 JAK                       77598-112

 DATE IN LOCAL CUSTODY                                            DEFENSE ATTORNEY* KATE MORRIS, DFPD
                   7/26/2023                                      TELEPHONE NO.: 213-894-5669
                                                                                                              *As shown on Judgment

Please calendar the above-named defendant for a preliminary revocation of supervised release hearing during the week of 8/21/2023.
The offender was taken into local custody and the issuance of Writ is not required.

Interpreter Needed? ☐ Yes             ☒ No                     Language Type:



HELEN ZAYTSEVA, 818-346-3065                                              RANDY ORLOW, 818-346-1897
          U. S. PROBATION OFFICER                                               SUPERVISING PROBATION OFFICER

                                                           FAX NO.

Routing of Request:         Orig. To Clerk s Office                Copies to:     U. S. Attorney (Chief, Criminal Division)
                                                                                  Federal Public Defender (Chief Deputy)



                                                      FOR CLERK S USE ONLY

                 PLEASE TAKE NOTICE that the above-named defendant has been calendared for hearing before the
Honorable John A Kronstadt, United States District Judge on September 7, 2023, at 8:30 a.m., in Courtroom No. 10B. Th e
exact time of the hearing may change upon the issuance of the final calendar for that date.



                                                                                   CLERK, U. S. DISTRICT COURT

Date      August 17, 2023                                                          By    /s/ T. Jackson-Terrell
                                                                                                      Deputy Clerk

Routing on Notice by Clerk:      Original -    Court File                                                X
                                       cc:     U. S. Probation & Pretrial Services Office                X
                                               U. S. Attorney, Attn: Chief, Criminal Division            X
                                               Defense Attorney                                          X
                                               Federal Public Defender, Attn: Chief Deputy
                                               U. S. Marshal (Warrant Cases only)                        X
                                               Interpreter Section, Clerk s Office (When needed)




SUP 216
1/10/07
